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IN THE UNITED STATES DISTRICT COURT
FOR oo,
THE THIRD CIRCUIT Oe aS

Rahman R. Fulton, : _ weg
(Petitioner) , Civil Action Nasi j18516526 (CSRG)> 1,

Crim. No. 13-CR-261 (SRC)
United States of America

PETITIONER'S MOTION FOR A "STATUS UPDATE"
CONCERNING THE COURT'S PENDING DECISION
ON PETITIONER'S 2255 HABEAS CORPUS FILING;
PURSUANT TO FRAP RULE 1: SCOPE AND PURPOSE

NOW before the Court, Petitioner Rahman Fulton's pro se Motion to Compel
the Court to GRANT a written ruling on his case for Relief in his pending
Habeas Corpus §2255 Petition before this Court. This Motion is being filed
due to it being now going on (120 days) past the Court's final docket filing
(#8) dated 7/2/19; and most recent Motion to Compel the Court to Proceed in
its Ruling dated filed 10/4/2019 (Dkt #104). Petitioner has a legal right
pursuant to FRAP Rule 1 "Scope and Purpose", guaranteed to a (secure) just,
speedy and inexpensive determination pursuant to the statute; and in support

thereof Petitioner states the following:
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II. STATEMENT OF FACTS
Fed.R. of Procd. states that under Rule 1: "Scope and Purpose", clearly
states the following;

The Rules govern the Procedure in all civil action and proceedings in

the United States District Court, except as stated in Rule 81. They should
be constructed, administered and " employed by the Court arid the parties

to “secure the just, speedy and inexpensive determination of every action
and proceeding." (History: )(Amended April 29, 2015)(eff. Date Dec. 1, 2015).

‘III. SPECIFIC RELIEF SOUGHT.
_ Petitioner's §2255 Motion deals with both his conviction as well as;

 

incorrect charge of an element pursuant to 924{(c).

Petitioner files this "Rule 1 Motion"; due to extreme (compelling) and
extraordinary reasons, such as the fact that Petitioner is more than (2) years
beyond what he should have been sentenced to, once the Court applied the recent
Supreme Court decision in (Davis) thus correcting Petitioner's guideline range
downward to time served.

Petitioner in addition to filing his Habeas Corpus §2255 Application/Memorandum -

Brief and Kepiy Brief; he has also filed a motion for immediate (evidentiary)
hearing under FRAP R. 8.1; that has not been decidea on by the Court at the
time of this Motion being filed.

Petitioner's case (at least concerning the 924(6) matter is not at ail
complicated, and such Higher and Lower Court decisions has made it even easier/
clearer in favor of Petitioner. Petitioner was charged and sentenced under
the 924(c) element clause; when in fact Petitioner 924(c) charge should have
fallen under the Residual Clause under 924(c)(3)(B); now considered by the
Supreme Court to be unconstitutionally vague and thus cannot stand. Period!

Petitioner has brought this extrememly important case to light in his
final repiy brief; and yet is compelled to file this Motion due to substantial
developments within his case and sentence. As of this. filing, Petitioner has
served (82) months of his (141) months sentence; and the removal of the 924(c)
enhancement would significantly reduce Petitioner's Sentencing Guidelines
downward to "Time Served". What's more; upon the Court removing (84) months
of Petitioner’s sentence, effectively changing his guidelines range; (Fulton)
Petitioner now qualifies for such relief because, at his current ( 83 months
of incarceration would mean that Petitioner (has) and is now currently outliving
what should have been a correct sentence of only (57) months. And thus needs

to be corected; and thus has been in jail (24) months past the amount of

time the Court should have given Petitioner.
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IV. CONCLUSION

WHEREFORE, Petitioner Rahman R. Fulton, pro se, hereby respectfully requests

this Honorable Court to "GRANT" this Motion for a Status Update and/or enter

a Ruling in this Instant Matter concerning this specific grounds within his
Reply Brief of his 2255 Habeas Corpus filing due to the Recent Supreme Court
ruling in US v. Davis/No.18431; under 18 USC 924(c)(1)(A), (3)(B); finding

the Residual Clause to be unconstitutionally vague and cannot stand; and such
Order _an Immediate Release from Custody; also, the Court to address the other
grounds herein Petitioner's complete filing of his 2255 habeas corpus filing,
pursuant to FRAP Rule 1. Petitioner, at the time of filing this Motion before

the Court when given an appropriate sentence of (57) months (If the Court

 

decides not to overturn Petitioner's conviction); is now been illegally incarcerated
YA. plus months and counting; and for such other and further relief deemed

proper and necessary in the Interest of Justice.

Dated: Respectfully Submitted,

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Rahman R. Fulton, pro se
Fed. No. 64940- 050
LSCI Allenwood LOW
PO BOX 1000
White Deer PA 17887
_ Case 2:18-cv-16526-SRC Document13 Filed 10/28/19 Page 4 of 6 PagelD: 291

AFFIDAVIT
I Hereby Certify that the foregoing facts are true and correct to the

best of my knowledge and belief under penalty of perjury as per 28 USC Section

hielo

Rahman Fulton, pro se

1746.

CERTIFICATE OF SERVICE

 

I Hereby Certify that a copy of the foregoing Petition/Motion was mailed
on this 287" day of Oct , 2019, by First Class Mail, postage

prepaid to:

AUSUA
Office of the US Attorney

Daniel V Shapi ro

970 Broad Street

 

Newark NJ 07102

 

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abman Fulton, ft se
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Other Documents

2:13-cr-00261-SRC USA v.
FULTON CASE CLOSED on
12/22/2014

CLOSED

U.S. District Court

District of New Jersey [LIVE]

Notice of Electronic Filing

The following transaction was entered on 10/7/2019 at 1:52 PM EDT and filed on 10/4/2019
Case Name: USA v. FULTON

Case Number: 2:13-cr-00261-SRC

Filer:

Document Number: 104

Docket Text:
Letter from RAHMAN R. FULTON re. Motion to Compel the Court to proceed in its ruling

with Petitioner's 2255 filing (mrd, )
2:13-cr-00261-SRC-1 Notice has been electronically mailed to:
CAROL GILLEN  carol_gillen@fd.org

DANIEL V. SHAPIRO  daniel.shapiro@usdoj.gov, CaseView.ECF@usdoj.gov,
usanj.ecfcriminaldocketing@usdoj.gov

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Anne.Nolino@usdoj.gov, usanj.ecfcriminaldocketing@usdoj.gov

K. ANTHONY THOMAS - anthony_thomas@fd.org, nj_ecf@fd.org
2:13-cr-00261-SRC-1 Notice has been sent by regular U.S. Mail:

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Document description:Main Document

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0} [a09ec5c6a5a97a56f9d845 fa8c56a4d5059 1 e8e577479edd2 fe8d705cd9b7 1 5ed1
15fa505b7a1 0f4c299 f9be3 1 96bfc3b3cc8 1 160d005 8ebfc7 1 6cc 1949292 f5]]

ATTACHMENT #1

https://ecf.njd.circ3.dcn/cgi-bin/Dispatch.p1?62232564922733 1 10/7/2019
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